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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DAVID BROWN,
                                                Case No. 1:25-cv-00238-JHR
           Plaintiff,

      v.                                        DEFENDANTS’ CITIBANK N.A.’S AND
                                                CITIMORTGAGE INC.’S RULE 7.1
 CITIBANK N.A.; CENLAR DBA                      DISCLOSURE STATEMENT
 CITIBANK; CITIMORTGAGE INC.,

       Defendants.

       Pursuant to Fed. R. Civ. P. 7.1, Defendant CitiMortgage, Inc. states that it is 70% owned

by Citibank, N.A. and 30% owned by Citi Retail Services LLC. Citi Retail Services LLC is 80%

owned by Citicorp USA, Inc. and 20% owned by Citibank, N.A. Citicorp USA, Inc. is a wholly-

owned subsidiary of Citibank, N.A.

       Defendant Citibank, N.A. states that it is a wholly-owned subsidiary of Citicorp LLC.

Citicorp LLC is a wholly-owned subsidiary of Citigroup Inc. Citigroup Inc. is a publicly traded

corporation.

 Dated: January 27, 2025                        K&L GATES LLP

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                                                CitiMortgage, Inc.
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                                CERTIFICATE OF SERVICE


       The undersigned certifies that on the 27th day of January, 2025, a true and correct copy

of the Defendants’ Citibank N.A’s and CitiMortgage, Inc.’s Rule 7.1 Disclosure Statement was

filed with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to registered users in the case, and served via Federal Express upon the following:



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                                                     /s/ David E. Fialkow
                                                     David E. Fialkow
